                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF WISCONSIN
                                 GREEN BAY DIVISION


TIMOTHY J. FAST,
on behalf of himself and
all others similarly situated,

                        Plaintiff,

        v.                                             Case No. 16-CV-1637

CASH DEPOT LTD.,

                        Defendant.


     PLAINTIFF’S AMENDED ANSWERS TO DEFENDANT’S [SECOND SET] OF
        INTERROGATORIES AND REQUEST TO PRODUCE DOCUMENTS


                      GENERAL RESERVATIONS AND OBJECTIONS

        1.      These responses are made on the basis of information presently available and

located by Plaintiff, and Plaintiff reserves the right to modify his responses and/or objections with

such additional information as subsequently may be discovered.

        2.      Plaintiff objects to each of the interrogatories to the extent that they seek

information regarding communications between Plaintiff and his legal counsel on the ground that

such communications are privileged and not subject to discovery. No response is intended to waive

such privilege, including the inadvertent disclosure of any privileged information which resulted

from Plaintiff’s good faith effort to thoroughly respond to these interrogatories in the required

period of time. Further, while Plaintiff has provided information relating to work performed by his

legal counsel in this case, such disclosure is for purposes of providing factual evidence of work

performed. The substance is privileged. Plaintiff reserves the right to recall any privileged

information that was inadvertently disclosed in responding to these Discovery Requests.



        Case 1:16-cv-01637-WCG Filed 06/20/18 Page 1 of 3 Document 46-1EXHIBIT                          A
                                     INTERROGATORIES

INTERROGATORY NO. 1:                  With regard to the costs incurred or expended to date on your

behalf for the above-referenced litigation, provide a description of each item of costs, the amount

of such cost, indicate whether the cost has been paid, the amount of the payment, and the person

or entity making the payment. Attached to your answer any document corroborating any aspect of

your answer.

ANSWER:        Plaintiff objects to this Interrogatory as overbroad and requesting information

and/or documents protected by the attorney-client privilege and/or attorney work product doctrine.

Subject to and without waiving said objection, as of December 7, 2017, Plaintiff has incurred

$407.04 in costs related to the above-referenced litigation. See Pl 0001-012, attached. Because

litigation of this matter is ongoing, Plaintiff reserves the right to amend this response to reflect

additional costs, as incurred. Further, by answering this Interrogatory, Plaintiff has not and does

not agree to accept reimbursement for costs in the amounts stated herein as a form of settlement

of his claims against Defendant.

INTERROGATORY NO. 2:                  With regard to the attorney’s fees incurred or expended to

date in this litigation, (A) describe the total amount of the fees incurred, the nature of each legal

service and/or activity for which any charged was made for legal services, the amount of time

spent on each such legal service and/or activity, the amount of the charged for such legal service

and/or activity, and state whether payment has been made, and if so, by whom an when; (B) if the

legal charges were based on increments of time, such as an hourly charge describe for each person

providing legal service and/or activity, the amount of the charge, indicate the capacity (i.e.

attorney, paralegal, administration staff, etc.) of the person performing such legal service and/or

activity, describe the qualifications of such person to perform those tasks. Indicate the nature of




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the fee agreement between you and your attorneys: this means whether the fee agreement is hourly,

a flat fee, or contingent based on recovery or any other arrangement.

       Attach to your answer, any document corroborating any aspect of your answer.

ANSWER:        Plaintiff objects to this Interrogatory as overbroad, unduly burdensome, not

reasonably calculated to lead to the discovery of admissible evidence, and requesting information

and/or documents protected by the attorney-client privilege and/or attorney work product doctrine.

Subject to and without waiving said objection, as of December 7, 2017, Plaintiff has incurred

approximately $39,920.00 in attorneys’ fees related to the above-referenced litigation. See Pl 0001-

012, attached. Because litigation of this matter is ongoing, Plaintiff reserves the right to amend

this response to reflect the additional attorneys’ fees he continues to incur. Further, by answering

this Interrogatory, Plaintiff has not and does not agree to accept reimbursement for his attorneys’

fees in the amount stated herein as a form of settlement of his claims against Defendant.

       Dated this 7th day of December, 2017.

                                              WALCHESKE & LUZI, LLC
                                              Attorneys for Plaintiff



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